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           (973) 422-9200
           Attorneys for Defendant Michael C. Sciarra



                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY
                                      (Honorable Stanley R. Chesler, U.S.D.J.)




           UNITED STATES OF AMERICA,
                                                       Criminal No.: 09-863 (SRC)
           V.


          MICHAEL C. SCIARRA, et at            :       ORDER MODIFYING BAIL CONDITIONS


                                Defendants,



                 THIS MATTER having come before the Court by defendant Michael C.
                                                                                            Sciarra through
          his attorney Edmund DeNoia, Esq., on notice to the United States of Ameri
                                                                                      ca through the United
          States Attorney’s Office for the District of New Jersey (V. Grady O’Malley,
                                                                                        A.U.S,A.
          appearing) and Pretrial Services (Michete Roman, appearing), and not
                                                                                 opposing, and for good
          cause being shown;

                 ITlSonthis                                   /7,4
                               j i             dayof                  -[          ,2011;
                ORDERED that the terms of Michael Oiarra’s bail are hereby modifi
                                                                                 ed to remove
         the curfew and electronic monitoring conditions;
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                         FURTRR 0RflgRtj that ll oeti o(bsil remain in
                                                                                          effect




                 T1* cetty nf the above Order it hereby consented t by the
                                                                             udniisd:


                 Mtomey for Defendant                            United States Attomeys Office
                 Michael C. Sciamt                               Attorneys for the Unitcd Statcs

                2:Za___
                Edmund
                        2DeNois Esq.                             V. Grady OMaIiny. AUiA        (/
                Dated:                                           Dated:


                United Ststc* Pretrial 0111cc




                Michele Romeo
                Dated:




                                                             2
